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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
                                      www.flmb.uscourts.gov

In re:                                           CHAPTER 11
                                                 CASE NO.: 6:15-BK-07275-KSJ
PROGRESSIVE PLUMBING, INC.,

PROGRESSIVE SERVICES, LLC and                    JOINTLY ADMINISTERED WITH
GRACIOUS LIVING DESIGN                           CASE NO.: 6:15-BK-07276-KSJ
CENTER, INC.                                     CASE NO.: 6:15-BK-07277-KSJ

                  Debtors.
_________________________________/

KELLOGG & KIMSEY, INC.
A Florida Corporation,

         Plaintiff

v.                                               Adv. Case No.: 6:17-AP-00044-KSJ

PROGRESSIVE PLUMBING, INC.,
A Florida Corporation, ALLIED WORLD
SPECIALTY INSURANCE COMPANY,
a Foreign Profit Corporation,

      Defendants.
_________________________________/
PROGRESSIVE PLUMBING, INC.,

         Counter-Plaintiff,

v.

KELLOGG & KIMSEY, INC.,

      Counter-Defendant.
_________________________________/
PROGRESSIVE PLUMBING, INC.,
      Cross-Plaintiff,

v.

ALLIED WORLD SPECIALTY
INSURANCE COMPANY,
            Case 6:17-ap-00044-KSJ        Doc 93      Filed 08/18/18   Page 2 of 19



      Cross-Defendant.
_________________________________/
ALLIED WORLD SPECIALTY
INSURANCE COMPANY,

       Cross-Plaintiff,

v.

PROGRESSIVE PLUMBING, INC.,

      Cross-Defendant.
_________________________________/

              PLAINTIFF, KELLOGG & KIMSEY, INC.’S, OPPOSITION
             TO DEFENDANT, ALLIED WORLD SPECIALTY INSURANCE
            COMPANY’S, MOTION FOR PARTIAL SUMMARY JUDGMENT

       Plaintiff/Counter-Defendant, KELLOGG & KIMSEY, INC. (“K&K”), pursuant to Fed. R.

Civ. P. 56, hereby responds in opposition to the Amended Motion for Partial Summary Judgment

(the “Motion”) [Doc. 69, 75, 77], submitted by Defendant/Counter-Plaintiff/Cross-Plaintiff/Cross-

Defendant, ALLIED WORLD SPECIALTY INSURANCE COMPANY (“Allied”), and therefore

states as follows:

                                SUMMARY OF ARGUMENT

       This Court should reject Allied’s unsupported interpretation of the Subcontract1 and Bond2

and deny Allied’s Motion. A plain reading of the Bond, as well as the Subcontract as incorporated

therein by reference, clearly negates Allied’s “election of measure of damages” theory and


1
  The term “Subcontract” means and refers to the Subcontractor Agreement entered into on
February 22, 2013 between Progressive and K&K for plumbing installation at 1800 West End
Hotel & MX Development, 1800 West End Ave., Nashville, Tennessee, a true and correct copy of
which is attached to the Adversary Complaint as Exhibit “C” [Doc. 1.3].
2
 The term “Bond” means and refers to Performance Bond No. D0000000007, issued by Allied, as
surety, on behalf of Progressive, as principal, and for K&K, as Obligee, in the penal sum amount
of One Million Seven Hundred Fifty Thousand and 00/100 Dollars ($1,750,000). A true and
correct copy of the Bond is attached to the Adversary Complaint as Exhibit “B.” [Doc. 1.2].
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undermines Allied’s vaguely-worded Affirmative Defense No. 21.

       Upon default under the Subcontract and the Bond, Allied was contractually required to

“promptly reimburse” K&K for any and all losses, costs, and expenses reasonably incurred in

the course of (i) supplementing Progressive’s performance, (ii) completing Progressive’s

performance, or (iii) allowing Progressive to continue its work. See Doc. 1.2, p. 1. (emphasis

added). Allied’s arguments to the contrary ignore the plain language of the Bond itself, as well as

the language of the Subcontract incorporated by reference into the Bond, which language clearly

specifies that these elements are not mutually exclusive or limiting in any fashion. Thus, the notion

of any ‘election of remedies’ requirement is contrary to the plain language of the Bond, would

produce an absurd result, and is a concept that exists only within the corners of Allied’s Motion.

        Allied also exceeds the permissible scope of its “partial” motion for summary judgment

by effectively asking the Court to resolve multiple, disputed issues of fact without any evidentiary

showing whatsoever. Specifically, although cast as a pure question of law and related contract

interpretation, Allied’s Motion effectively asks the Court to ignore the fact that (1) no election of

remedy provision exists under either the Subcontract or the Bond; (2) that Allied has not

established that any election was ever made; (2) that K&K’s purported election to supplement

followed two previous notices of default and months during which Progressive was in default (and

accruing damages) and when no supplementation had yet been undertaken; (3) that Allied has

failed to establish when any remedy was purportedly elected; (4) and that Allied has not alleged

or supplied facts to establish how any damage claimed by K&K should or even could be

categorized under its rubric. Accordingly, the relief requested by Allied in its Motion is akin to a

prospective declaratory judgment on disputed factual issues prior to trial and is therefore

inappropriate on these grounds as well. See, “Wherefore” clause, Doc. 77, p. 11.


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       I.       BACKGROUND

       This adversary proceeding arises from a dispute between K&K and Progressive under the

terms of a Subcontract executed on February 22, 2013, relating to the construction of a hotel project

identified as 1800 West End Hotel and MX Development in Nashville, Tennessee (the “Project”).

See Adversary Complaint, at Exhibit “C” [Doc. 1.3], wherein Progressive contractually agreed to

perform plumbing work for the Project and for K&K as General Contractor. See id. In connection

with applicable Project and Subcontract requirements, Progressive applied for and Allied issued a

Subcontract Performance Bond and Labor and Material Payment Bond. See id., at Exhibit “B”

[Doc. 1.2].

       Progressive’s work on the Project began around March 2013. See id., at Exhibit “C” [Doc.

1.3]. At this time, Progressive hired its initial crew from a pool of local plumbers and helpers,

many of whom lacked experience with large plumbing jobs. See Deposition of John Mazzeo

(“Mazzeo Depo”), 35:3-11, 35:24-36:11, 58:17-25, and 59:1-15; Deposition of Bo Burns (“Burns

Depo”), 17:17-25.

       The construction market in Nashville, TN was thriving at that time, leaving very few skilled

(or even semi-skilled) laborers for an out-of-state subcontractor looking to hire for a one-off project

See Deposition of David Reed of July 3, 2018 (“Reed Depo D2”) Vol I, 76:20-77:8 and Deposition

of Essie Hamill (“Hamill Depo”), 8:22-9:6. This resulted in Progressive filling out its labor force

with mostly unskilled day labor provided through several companies (Tradesman International,

Labor Finders, and others) and to hire another local plumbing subcontractor to take over a

substantial portion of its scope of work under the Subcontract. See Deposition Exhibit 253 [Doc.

93.1]; Deposition of William Lawson of June 11, 2018 (“Lawson Depo D1”) 43:6-16 and 110:9-

12. Though this labor was largely ineffective and required greater supervision by Progressive, the

additional costs of paying retail prices for third-party labor exacerbated financial issues
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Progressive was already facing.     See, Deposition of William Lawson dated June 12, 2018

(“Lawson Depo D2”), 91:2-19 and 91:23-92:15; Deposition Exhibit 255 [Doc. 93.2].

Compounding and arising in connection with this issue, Progressive was attempting to suppress

orders for supplies and equipment so as to postpone larger purchases. See, e.g., Burns Depo 26:12

– 29:4. This turned out to be a serious error, as unforeseen material lead times ended up causing

Progressive substantial delays. See, e.g., id; Mazzeo Depo, generally.

       By May 2014, Progressive had fallen well behind schedule and was in serious default of

the Subcontract, and on May 27, 2014, K&K responded to these shortfalls by issuing a 72-Hour

Notice of Intent to Terminate (the “May Notice”) to Progressive, outlining its multiple deficiencies

at the Project. See Doc. 74.1 at 25:12-26:12 and 19:2-20:3; Ex. 207 [Doc. 73-1]. On top of this,

Progressive’s completed work proved deficient, necessitating repairs and causing further delays.

See, e.g., Doc. 74.1, 25:12-26:12; Mazzeo Depo 28:6-17 and 73:2-6. On May 29, 2014,

Progressive issued return correspondence that acknowledged these deficiencies (admitting they

were providing comments related to “defaults or breaches”) and outlined a remediation plan. [Doc.

93.3]. Faced with the choice of allowing Progressive to attempt to cure its defaults or undergoing

the expense and challenges of replacing a major trade mid-Project, K&K permitted Progressive to

continue on the Project. Doc 74.1, 53:25 – 54:13.

       Unfortunately, the state of Progressive’s work and workforce grew worse as time drew on,

and on August 28, 2014, K&K issued an additional default notice citing further issues with

Progressive’s materials, manpower, and work quality and advising that K&K was seeking to

supplement Progressive’s forces. See Doc. 74.1 at 33:18-34:13; August 28 Email (the “August

Notice”) [Doc. 93.4]. Those defaults remained uncured, and on November 26, 2014, K&K sent

another default notice advising Progressive’s mounting failures and K&K’s intention to continue

to supplement Progressive’s dwindling and under-skilled work force. See Doc 74.1 at 61:7-62:14;
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November Default Letter (the “November Notice”) [Doc. 93.5]. Thereafter, K&K provided

additional forces while Progressive withdrew its own in order to save money. See Deposition of

David Reed dated June 29, 2018 (“Reed Depo D1”) Vol. II, 190:18 – 191:20; Lawson Depo D1,

125:20-126:23.

       On April 7, 2017, K&K filed the instant Adversary Proceeding [Doc. 1] against Progressive

and Allied seeking damages resulting from Progressive’s consistent delays and faulty

workmanship on the Project.3 However, Allied now moves for partial summary judgment on

Affirmative Defense No. 21, in which Allied suggests: “[s]ome or all of Plaintiff’s claimed

damages are not covered by the terms of the performance bond.” Id. Allied insists that Affirmative

Defense No. 21 is summary judgment-worthy based on its theory that the Bond limits K&K to one

of three expressed measures of damages. See Adversary Complaint, at Exhibit “B.”

       However, no logical reading of the plain language of the Subcontract and Bond supports

Allied’s Motion. Moreover, because Allied’s entire argument is predicated on the vague defense

asserting that “some or all” of K&K’s damages are not recoverable, the defense raised does not

correspond procedurally to the relief sought, which seems to be in the nature of a declaratory

judgment. Further, because the issues raised in Affirmative Defense No. 21 are intertwined with

multiple, disputed issues of material fact, Allied’s Motion must be denied.

       II.     OPPOSITION TO ALLIED STATEMENT OF FACTS

       Allied sets forth numerous allegations in its Statement of Undisputed Material Facts in

Support of its Partial Motion for Summary Judgment (“SUMF”) which are purported to be

undisputed, but which are both disputed and material to the instant Motion.            [Doc. 70].



3
 In May 2015, K&K sued Progressive and Allied in the Circuit Court for Sarasota County, Florida,
Case No. 2015-CA-002631NC, but voluntarily dismissed its suit when Progressive filed for
Chapter 11 bankruptcy.
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Accordingly, K&K expressly disputes such purported facts, including specifically those contained

in paragraphs 6, 17, 18, 27, 28, 31, 33, and 34 of the SUMF. Further, where Allied claims it is

providing the “relevant” part of specific contract provisions, K&K reserves its right to provide

other relevant portions of those same contracts. See, e.g., SUMF at ¶¶ 5, 8, 15.

       A.      The Subcontract Does Not Provide a Mutually Exclusive “Choice of
               Remedies”

       Allied’s allegation 6 is not a fact at all, but rather posits the legal theory that Paragraph 18

of the Subcontract provides a “choice of remedies” for the Contractor in the event of a Default by

the Subcontractor. [Doc. 70, at ¶ 6]. However, Paragraph 18 does not provide a “choice of

remedies.” Rather, Paragraph 18 of the Subcontract sets forth a non-exclusive list of ways in which

K&K may be damaged as a result of Progressive’s defaults, for which Allied is obligated to pay

“any and all losses, costs, and expenses” which may be “reasonably incurred.” [Doc. 1.2].

       Notably, the quoted portions of Paragraph 18 plainly state: “if, in the opinion of the

Contractor, should Subcontractor take or fail to take any action which would cause or threaten to

cause delay in the general progress of the work under the Prime Contract, or in any way adversely

affect the quality of the work under the Prime Contract, Contractor shall have the right but not

the obligation to any or the appropriate combination of any of the following remedies or courses

of action.” Id. (emphasis added). Thus, while Paragraph 18 in the Subcontract provides a list of

possible remedies for defaults in the progress of the work, the remedies are in no way capable of

being construed as mutually exclusive. Contrary to Allied’s assertions, Allied and Progressive

agreed under the Subcontract that K&K has the right to utilize “any or the appropriate combination

of” remedies or courses of action. Id. Specific remedies are detailed more extensively in paragraph

18’s subcategories (A) through (E).



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       Nothing in the language of Paragraph 18 provides any limit on recovery of reasonably

incurred damages. For example, subparagraph 18(A) allows K&K to investigate Progressive’s

default and “expedite a cure or remedy in any way or manner whatsoever, including, but without

limitation, supplementation…” (emphasis added). Such expansive language precludes even the

barest suggestion of mutual exclusivity of such remedies. Instead, K&K has the right to “expedite

a cure or remedy in any way or manner whatsoever.” Id. In fact, 18(E) contains an inclusive

provision expressly allowing for “all other remedies, either statutory or otherwise, that Contractor

may have at law or equity.” Id.

       Paragraph 18 of the Subcontract further sets forth the surety’s obligations and

consequences under alternative combinations of remedy selections, and even provides examples

of the consequences of certain remedy combinations. Among these examples:

               Should Contractor elect option A, and/or B or C, Subcontractor and
               its surety hereby knowingly and voluntarily waives any right they
               may have in any performance bond to remedy any default or
               complete any of subcontractor’s work.

Id. (emphasis added). A plain reading of this portion of Paragraph 18 leads to only one logical

conclusion: K&K was accorded the right to choose any one or more remedial courses of action to

remedy Progressive’s multiple defaults. Id.

       B.      K&K Put Progressive On Notice Of Default On At Least Three Occasions
               Beginning In May 2014

       Likewise, K&K disputes         alleged facts 17 and 18 because they are incomplete

characterizations. See SUMF at ¶¶ 17, 18. On May 27, 2014, K&K sent Progressive the May

Notice. See Reed Depo at 19:2-20:3 [Doc. 74.1]; see also Ex. 207 [Doc. 73-1]. This

correspondence was indisputably a notice of default.4 Id. Further, the May Notice featured a


4
 Indeed, William Lawson, Progressive’s President, admits in his return correspondence that his
proposed plan of action is designed to remedy the “defaults or breaches” outlined in the May
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specific reservation by K&K of “all other remedies, either statutory or otherwise, that it may have

at law or equity.” Id. Thus, although K&K did not actually terminate Progressive’s contract, it

never withdrew the declaration of default contained in the May Notice. Id. K&K later sent another

notice of default in August 2014. Doc. 74.1 at 33:18-34:13; August Notice [Doc. 93.4]. Again, that

declaration of default was never withdrawn. Id. Another notice of default was issued in November

2014; the November Notice. Doc. 93.5; Doc 74.1 at 61:7-62:14. Similarly, Allied’s alleged facts

18 and 19 assert that K&K’s letter was sent pursuant to paragraph 18-D and that the letter placed

Progressive on notice pursuant to Paragraph 18-D. SUMF at ¶¶ 18-19. However, as noted above,

the letter reserved all K&K’s remedies, statutory or otherwise.

       K&K disputes Allied’s purported facts 27 and 28. See SUMF at ¶¶ 27-28. While David

Reed, K&K’s Senior Project Manager, declared Progressive to be in default under the terms of

Paragraph 18 (A) on November 26, 2014, the characterization of Mr. Reed’s letter as a “formal”

Notice of Default suggests a distinction without meaning. Further that correspondence was not

the first declaration of default sent to Progressive, which is one possible reading of Allied’s

allegation. See Doc. 74.1 at 100:11-17. In fact, both the May Notice and the August Notice were

previously provided to Progressive as declarations of default. Id. at 99:21-25.

       Allied’s allegation 31 states that “[p]er K&K, The Declaration of Default encapsulated the

major reasons K&K was defaulting Progressive.” This characterization is incomplete, as Mr. Reed

also testified that he “guarantee[d] there were more than what was enumerated” in that

correspondence. Doc. 74.1 at 62:22-63:3.

       Purported fact 34 alleges that K&K supplemented Progressive until the end of the Project,

in January 2015. SUMF at ¶ 34. Mr. Reed did testify that from Christmas 2014 until the first week




Notice. [Doc. 93.3].
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of January 2015, there were no Progressive employees on the job, leaving only supplemental labor.

Doc. 74.1 at 97:5-12. However, Progressive later was involved with plumbing completion tasks,

repair, and remediation into March of 2015 at which time no supplemental labor remained. Doc.

74.1 at 98:13-17.

       III.    ARGUMENT

       This Court is well-acquainted with and requires no belaboring of the legal standard for

considering summary judgment motions, as outlined in Porter v. Ray, 461 F.3d 1315, 1320 (11th

Cir. 2006) (citation omitted). In the instant case, Allied moves for partial summary judgment on

Affirmative Defense No. 21, claiming that “some or all of K&K’s damages in Counts I and II of

the Adversary Complaint are not covered by terms of the performance bond.” See Motion at 3.

However, Allied neither identifies which of K&K’s damages are or are not covered by the Bond

nor how it proposes the Court should determine and limit same. See generally Allied’s Motion.

Allied’s arguments are unavailing.

       A.      The Plain Language Of The Bond And Incorporated Subcontract Enables
               K&K To Recover All Of Its Damages Resulting From Progressive’s Defaults

       K&K is entitled to all of its reasonably incurred damages under the plain language of the

Bond and Subcontract. Under Florida law, both the Bond and Subcontract are subject to general

principles of contract interpretation5. See, e.g., American Home Assurance Co. v. Larkin Gen.

Hosp., Ltd., 593 So. 2d 195, 197 (Fla. 1992) (“A bond is a contract, and, therefore, a bond is subject

to the general law of contracts.”). This means the Court should (1) give meaning and effect to each

term of the Bond and incorporated Subcontract; (2) assume that each clause in both documents has

a purpose; and (3) accept that the parties intended for each and every provision to be implemented



5
 With exception to rules of construing ambiguities in bonds against the drafter with respect to
bonds, as explained in Section III (A), infra.
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in harmony and as written. See, Stinson, Lyons, Gerlin & Bustamante, P.A. v. Brickell Bldg. 1

Holding Co., 747 F. Supp. 1470, 1472-1473 (S.D. Fla. 1990) (citing Excelsior Ins. Co. v. Pomona

Park Bar & Package Store, 369 So. 2d 938 (Fla. 1979).

       Under these principles, the Bond and the incorporated Subcontract must be read as though

the two were, in fact, one document. See, e.g., Collins v. Nat'l Fire Ins. Co., 105 So. 2d 190, 194

(Fla. 2d DCA 1958) (“Where a written contract refers to and sufficiently describes another

document, that other document or so much of it as is referred to, may be regarded as a part of the

contract and therefore is properly considered in its interpretation.”). As a performance bond

typically—indeed, necessarily—is based upon and incorporates the terms of a subcontract, courts

must look to the subcontract in interpreting the bond. See Nat'l Fire Ins. Co. v. Fortune Constr.

Co., 320 F.3d 1260, 1275 (11th Cir. 2003) (where the bond at issue expressly incorporates the

subcontract, the Court must look to the subcontract to determine “the purpose of the bond.”)

(citations omitted); see also City of Orlando v. H.L. Coble Co., 282 So.2d 25, 27 (Fla. 4th DCA

1973); American Home Assurance Co. v. Larkin General Hospital, Ltd., 593 So. 2d 195, 198 (Fla.

1992) (“[T]he purpose of a performance bond is to guarantee the completion of the contract upon

default by the contractor.”).

       Here, the Subcontract, as incorporated by the Bond, expressly provides:

               [I]f, in the opinion of the Contractor, should Subcontractor take or
               fail to take any action which would cause or threaten to cause delay
               in the general progress of the work under the Prime Contract, or in
               any way adversely affect the quality of the work under the Prime
               Contract, Contractor shall have the right but not the obligation to
               any or the appropriate combination of any of the following
               remedies or courses of action . . .

See Adversary Complaint, at Exhibit “C,” ¶ 18 [Doc. 1.3]. This language is followed by a plainly

non-exclusive list of potential remedies, many of which reference one another as well as various

combinations thereof. See, e.g., id. at ¶ 18(E) (“All other remedies, either statutory otherwise, that
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Contractor may have at law or equity.”). Notably, the Bond expressly incorporates the above-

language and Subcontract, “which contract is by reference made a part hereof[.]” See id. at Exhibit

“B.” The Bond even echoes the Subcontract’s intent to compensate K&K for all damages in the

event of a default: “[w]henever Subcontractor shall be, and be declared by General Contractor to

be in default under the Subcontract . . . the Surety shall: 1) Promptly reimburse General Contractor

for all losses, costs and expenses, including reasonable attorney’s fees, incurred by General

Contractor[.]” Id. Further, no language included in the Bond in any way even hints at the barest

suggestion of limitation—the words “only,” “limited,” “exclusive,” or similar words conveying

boundaries on the remedies provided under the parties’ agreements cannot be found. Id.

       The above-cited language, present in both the Bond and Subcontract, providing for

inclusivity of remedies reveals a plain contractual intent that K&K be compensated for all of its

damages in the event of Progressive’s default. No other construction or meaning of the above-cited

language is possible within the confines of Florida’s canons of contract interpretation. As both

documents allow for a wide array of non-exclusive remedies to account for K&K’s damages, it

would require a tortured reading contrary to the parties’ obvious intent to find otherwise.

       Under the express terms of the Subcontract, Allied had clear notice (and by signing the

Bond, expressly agreed) that, upon Progressive’s default, K&K was able to avail itself of any

combination of remedies including supplementation, remediation, and repair. Allied also agreed

that K&K had the right to “investigate any such default and expedite the cure or remedy for same

in any way or manner whatsoever, including, but without limitation, the supplementation of

Subcontractor’s forces or providing equipment or materials at Subcontractor’s expense.” Id. at ¶

18. Any interpretation to the contrary runs afoul of the plain intent of both the Subcontract and

Bond. Accordingly, the Court should deny Allied’s Motion on this basis alone.


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       B.      The Bond And Subcontract Are Not Ambiguous and No Conflict Exists
               Between Them, Nor Could Any Ambiguities Therein Be Construed Against
               Any Party Other than The Surety, Allied

       By its Motion, Allied repeatedly and confusingly skirts the issue of ambiguity in the

language of the Subcontract and Bond. On the one hand, Allied repeatedly suggests that the

language of the Bond is “clear and unambiguous and its construction therefore presents an issue

of law for the court.” See, e.g., Motion at pp. 10. However, Allied also proceeds to suggest in a

series of footnotes that “any such ambiguity is construed against the drafter” and “as this Court

has recognized . . . to the extent the Subcontract conflicts with the operative language in the Bond,

the language in the Bond prevails.” See id. at pp. 10 fn. 2, 11 fn. 3 (citing In re Mona Lisa at

Celebration, LLC, 472 B.R. 582, 645 (2012)). Moreover, Allied’s argument that the Bond

language is controlling necessarily asserts a conflict in terms, which must be based on ambiguity

between the Bond and the incorporated provisions of the Subcontract. Yet, Allied cannot continue

to sit on both sides of the fence with respect to the issue of ambiguity; nor can Allied conflate

issues of law with disputed issues of fact for purposes of its Motion.

       At the outset, Allied should not be permitted to read a conflict into the language of the

Bond solely because the Bond and the Subcontract utilize different language to convey the same

meaning. See, Coca-Cola Enters. v. Novelis Corp., 297 F. App'x 890, 892 (11th Cir. 2008) (A

party “cannot create ambiguity in a contract simply by alleging a different interpretation of a

contractual provision.”). Instead, under the above-cited principles of law, both the Bond and

Subcontract must be read together. See e.g., Great Am. Ins. Co. v. Sch. Bd. of Broward Cty., No.

09-61636-CIV-ZLOCH/ROSENBAUM, 2010 U.S. Dist. LEXIS 120030, at *41-43 (S.D. Fla. July

30, 2010) (“Consistent with Florida law, therefore, the Court reads the Bond and Contract

together”); see also CC-Aventura, Inc. v. Weitz Co., Ltd. Liab. Co., No. 06-21598-CIV-

HUCK/O'SULLIVAN, 2008 U.S. Dist. LEXIS 53439, at *28 (S.D. Fla. July 14, 2008). Further,
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in its arguments, which are based on the presumption of ambiguity, Allied raises a disputed issue

of material fact not capable of determination on a motion for summary judgment. See, e.g.,

Hibiscus Assocs. v. Bd. of Trs. of the Policemen & Firemen Ret. Sys., 50 F.3d 908, 919 (11th Cir.

1995) (“Generally, the proper construction of an ambiguous contract term is a question of fact

which should be reserved to the [trier of fact].”).

       Crucially, in its attempts to imply ambiguity in the form of conflict between the Bond and

Subcontract, Allied cites Daake for the proposition that ambiguities in a bond are construed against

the drafter thereof, implying that K&K drafted the Bond. See Motion, at pp. 10 fn. 2. However,

the Daake case does not pertain to bonds, sureties, or related insurance policies; instead, Daake

concerns a contract for construction of a seawall. See Daake v. Decks N Such Marine, Inc., 201

So. 3d 179, 180 (Fla. 1st DCA 2016). Importantly, the principles expressed in Daake do not apply

in the suretyship context, where the language of a Bond is universally construed against the surety

irrespective of negotiations in drafting. See, e.g., Gulf Power Co. v. Ins. Co. of N. Am., 445 So. 2d

1141, 1142 (Fla. 1st DCA 1984) (“In this regard we must observe that contracts of surety are

regarded as analogous to contracts of insurance, and are to be strictly construed against the

surety and in favor of the obligee.”) (emphasis added); Nat'l Fire Ins. Co. v. L.J. Clark Constr.

Co., 579 So. 2d 743, 745 (Fla. 4th DCA 1991) (“Generally, any ambiguity as to the nature of a

bond should be construed against the surety and in favor of granting the broadest possible coverage

to those intended to be benefited by protection of the bond.”); Sch. Bd. v. Great Am. Ins. Co., 807

So. 2d 750, 752 (Fla. 4th DCA 2002) (“Florida's policy is to construe any ambiguity in a bond ‘in

favor of granting the broadest possible coverage to those intended to be benefitted by protection

of the bond.’”) (citations omitted).

       Additionally, Allied cites one of this Court’s prior opinions, In re Mona Lisa at

Celebration, LLC, 472 B.R. 582, 645 (2012), for the proposition that the language of a Bond
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prevails over conflicting language and/or ambiguities contained in the Subcontract. However, in

Mona Lisa, this Court held that “operative clauses of a contract prevail over recital clauses and

‘whereas’ clauses when a conflict arises between the two.” See id. Of course, the instant case does

not involve a conflicting recital clause, nor a conflict between two competing provisions in a

contract (or any conflict at all, for that matter). Accordingly, the Mona Lisa case is not applicable

to the one at hand, save for this Court’s observation that a Bond should be construed in line with

its underlying purpose. See id (“This interpretation is supported by the underlying purpose of the

surety bond in § 718.202, which is to protect the first 10% of plaintiffs’ deposits from misuse.”).

       The Court should disregard Allied’s veiled suggestions of ambiguity in the Subcontract

and Bond and construe the provisions of each in harmony and according to their unambiguous

terms. However, to the extent the Allied wishes to find ambiguity in the documents, the Bond

should be strictly construed against the Allied, and in favor of K&K as obligee in light of the

Bond’s fundamental purpose (i.e., guaranteeing performance of Subcontract obligations). Allied’s

arguments to the contrary misapply Florida law and should be disregarded.

       C.      Allied’s Interpretation Of The Bond And Subcontract Ignores The Plain
               Language Of Both And Produces A Patently Absurd Result

       Allied’s suggestion that the Bond and Subcontract divide K&K’s compensable damages

into mutually-exclusive pairings results in a patent absurdity which the Court should disallow.

Florida’s cannons of contract interpretation assume that contractual language constitutes the best

evidence of the contracting parties’ intent. See, e.g., Murry v. Zynyx Mktg. Communications, Inc.,

774 So. 2d 714 (Fla. 3d DCA 2000) (“It is axiomatic that the clear and unambiguous words of a

contract are the best evidence of the intent of the parties.”). Further, a Court must interpret a

contract in such a manner as to avoid absurd results that stretch the language and original intent of

the parties beyond reason and logic. Gulliver Sch., Inc. v. Snay, 137 So. 3d 1045, 1047 (Fla. 3d

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DCA 2014) (“[U]nambiguous language is to be given a realistic interpretation based on the plain,

everyday meaning conveyed by the words.”); see also S & S Packing, Inc. v. Spring Lake Ratite

Ranch, Inc., 702 F. App'x 874, 878-79 (11th Cir. 2017) (“Under Florida law, a court ‘must construe

a contract in a manner that accords with reason and probability and avoid an absurd

construction.’") (citations omitted).

       In a related vein, a court may not adopt an interpretation of a contract that ignores or “reads

out” entire provisions, treating the words and original intent of the contracting parties as “mere

surplusage.” Equity Lifestyle Props., Inc v. Fla. Mowing & Landscape Serv., 556 F.3d 1232, 1242

(11th Cir. 2009) (Courts must read contracts to give meaning to all of its provisions and “avoid

treating a word as redundant or mere surplusage ‘if any meaning, reasonable and consistent with

other parts, can be given to it.’”) (citations omitted); Amtrak v. Rountree Transp. & Rigging, 422

F.3d 1275, 1284 (11th Cir. 2005) (“‘[E]very provision in a contract should be given meaning and

effect’ to avoid rendering any provision ‘mere surplusage.’”) (citations omitted).

       Here, Allied’s theory that the contract language at issue implies an exclusive “choice of

remedies” is incompatible with the language of the Subcontract. In effect, Allied asks this Court

to read the words “appropriate combination of any of the following remedies or courses of action,”

and “and all other remedies that are available” out of the Subcontract—and thus the Bond—

entirely. See Adversary Complaint, at Exhibits “B” and “C” [Docs. 1.2 and 1.3]. Accordingly,

Allied’s Motion improperly treats these terms as mere surplusage and ignores the intent of the

contracting parties. See, e.g., Equity Lifestyle Props., 556 F.3d at 1242. The Court cannot and

should not construe the Subcontract and Bond in this fashion, as the terms Allied hopes to read out

are the best evidence of the specific intent of the parties to broadly provide multiple, non-exclusive

remedies to K&K in the event of a default. See, e.g., Murry, 774 So. 2d at 714.

       When considered fully, Allied’s proposed interpretation of the Subcontract and Bond also
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leads to a patent absurdity and thus should be rejected in its entirety. Allied’s interpretation of the

Bond should be abandoned as unreasonable and absurd because it runs afoul of the basic purpose

of a performance bond; that is, under no circumstances would K&K (or any general contractor)

risk being unable to claim damages resulting from other defects in performance simply because it

also must supplement or complete the work under the Subcontract, nor forgo supplementation and

instead experience extended delays if it hopes to recover damages reasonably incurred from

workmanship defaults on the Project. Id.

       Moreover, Allied’s interpretation of the Bond could leads to circumstances that could not

possibly have been the intent of the parties. For instance, Allied’s theory of exclusive remedies

could result in forcing a contractor to choose between either (i) supplementing subcontractor

causing serious project delays and being unable to recover any other damages incurred if the

subcontractor then abandons the project (completion damages) or damages resulting from poor or

deficient work—no matter how extreme the failure; or (ii) collecting damages caused by poor or

deficient work but being precluded from then either supplementing or completing the

subcontractor’s work—regardless of whether the subcontractor either withdraws forces or

abandons entirely. In all instances, this would lead to contractors immediately terminating the

defaulting subcontractor in order to avoid potentially losing the ability to claim entirely valid and

reimbursable damages. Moreover, under this bizarre interpretation of the Subcontract and Bond,

upon reimbursement to the general contractor for the first dollar of damage caused by the

subcontractor’s poor work, the defaulted subcontractor would be then entitled to immediately

abandon the project and collect the entire remaining balance of its contract sum, since the general

contractor would be precluded by its “election” of damages remedy from charging the

subcontractor for any damages related to either supplementation or completion of that work.

       This Court should not entertain such an interpretation of the Bond or, by extension, the
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Subcontract, given the absurd results would produce. As Allied’s theory of the case simply ignores

or treats as mere surplusage the language it doesn’t find helpful to its claims, this Court should

deny Allied’s Motion and permit the case to proceed to trial as to all of K&K’s damages.

       V.      CONCLUSION

       Until trial, at which K&K will prove its damages, there is no way to meaningfully separate

Affirmative Defense No. 21 from the rest of Allied’s defenses. Seeking a bar of “some or all”

damages is simply not a defense on which the Court can grant summary judgment; in fact, such

language would not properly considered an affirmative defense at all. The damages in this case are

intertwined with the issues of default and breach and cannot be separated into artificial categories

that do not exist under the parties’ agreements. Accordingly, summary judgment on Allied’s vague

Affirmative Defense No. 21 should be denied.

       When Progressive defaulted and breached the Subcontract, pursuant to the terms of the

Subcontract, K&K had the right to exercise “any or the appropriate combination of any of” a

number of remedies—all of which deal with potentially different situations and types of default.

A plain reading of the language in the Subcontract and Performance Bond makes clear that Allied’s

reading of the Bond is simply wrong.            Accordingly, the Court should reject Allied’s

misinterpretation of the Subcontract and Bond and deny Allied’s Motion for Partial Summary

Judgment.




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on August 18, 2018, I electronically served a true and

correct copy of the foregoing via electronic mail to the following: Jonathan P. Cohen on behalf

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